Eastern District Of Wisconsin

 

LINA POSADA Case No.:2:19-CV-1267

Plantiff
v.

ARTS PERFORMING CENTER, LLC % MICHAEL T
REINDL, REG. AGENT

Defendant

 

AFFIDAVIT OF CORPORATE SERVICE

I, Stacy Kratochvil being duly sworn on oath, state I am an adult resident of Wisconsin. J am not a party to the legal action of
the attached document(s) which was/were served upon the below named party and endorsed as required by Wis. Stats. 801(10)

(2)

That on 9/29/2019 at 3:23 PM at 144 E Juneau Ave, Milwaukee, WI 53202 I served ARTS PERFORMING CENTER, LLC %
MICHAEL T REINDL, REG. AGENT with the following list of documents: SUMMONS & COMPLAINT; PROPOSED
SUMMONS; CIVIL COVER SHEET by then and there personally delivering a true and correct copy of the documents into
the hands of and leaving with FELIPE RUIZ whose title is AUTHORIZED AGENT/MANAGER.

Final Results: 9/29/2019 at 3:23 PM

nite, That the fee for this Service is $ 30.00
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Subscribed Bono fore me, ¢ Notary Stacy Kratochvil
Public/This “helt 0! htemb a, 2089 State Process Service, Inc
, 11430 West Bluemound Rd, 11
Wauwatosa, WI 53226
(414) 256-7000

    
    
     

Ana L\ L¢pez
Notary Public
My Commision expires on: 7/21/2023

Order #:P284538
Tholr File 2: r CV-1267

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